Case 1:21-cv-02241-DDD-SKC Document 18 Filed 02/01/22 USDC Colorado Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO



   Civil Action No. 1:21-cv-02241-DDD-SKC

   JAIME GENTRY,

           Plaintiff,

   v.

   EPHESIANS 320 PARTNERS LLC,

           Defendant.


                   JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


         Pursuant to Fed. R. Civ. P. 41(a), the parties, Jaime Gentry, as Mother and Natural

  Guardian of RG, a minor, and Defendant, Ephesians 320 Partners LLC, jointly stipulate to the

  dismissal of this action with prejudice, each party to bear her or its own costs.

           Respectfully submitted this 1st day of February, 2022.

   s/ John P. Fuller w/ permission                    s/ Rebecca M. Lindell
   John P. Fuller, Esq.                               Rebecca M. Lindell
   Fuller, Fuller & Associates, P.A.                  Ogletree, Deakins, Nash, Smoak &
   12000 Biscayne Blvd., Suite 502                    Stewart, P.C.
   North Miami, FL 33181                              2000 South Colorado Boulevard
   Tel: (305)891-5199                                 Denver, CO 80222
   jpf@fullerfuller.com                               Telephone: 303.764.6800
                                                      Facsimile: 303.831.9246
   Kara W. Edmunds, Esq.                              rebecca.lindell@ogletree.com
   Edmunds Law Firm
   2280 Forest Avenue
   Boulder, CO 80304
   Tel: (303) 953-0863
   kara@kwelaw.com

   Attorneys for Plaintiff, Jaime Gentry, as          Attorneys for Defendant Ephesians 320
   Mother and Natural Guardian of RG, a               Partners LLC
   minor
Case 1:21-cv-02241-DDD-SKC Document 18 Filed 02/01/22 USDC Colorado Page 2 of 2




                                  CERTIFICATE OF SERVICE

        I hereby certify that on this 1st day of February, 2022, I electronically filed the foregoing
  JOINT STIPULATION OF DISMISSAL WITH PREJUDICE with the Clerk of Court using
  the CM/ECF system which will send notification of such filing to the following e-mail addresses:

         John P. Fuller
         Fuller, Fuller & Associates, P.A.
         12000 Biscayne Blvd., Suite 502
         North Miami, FL 33181
         jpf@fullerfuller.com

         Kara W. Edmunds
         Edmunds Law Firm
         2280 Forrest Avenue
         Boulder, CO 80304
         kara@kwelaw.com


                                                      s/ Alison L. Shaw
                                                      s/ Alison L. Shaw, Paralegal




                                                  2
